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   1                     UNITED STATES DISTRICT COURT
   2                   CENTRAL DISTRICT OF CALIFORNIA
   3
       ENTROPIC COMMUNICATIONS,             Case No. 2:23-cv-01049-JWH-KES
   4   LLC,                                 (Lead Case)
   5                   Plaintiff,           Case No. 2:23-cv-01050-JWH-KES
                                            (Related Case)
   6        v.
                                            [Assigned to the Honorable John W.
   7   COX COMMUNICATIONS, INC., et         Holcomb]
       al.,
   8                                        DECLARATION OF JOHN
                       Defendants.          HOLOBINKO IN SUPPORT OF
   9                                        PLAINTIFF ENTROPIC’S
                                            PROPOSED CLAIM
 10                                         CONSTRUCTIONS
 11
 12    ENTROPIC COMMUNICATIONS,
       LLC,
 13
                       Plaintiff,
 14
            v.
 15
       COMCAST CORPORATION, et al.,
 16
                       Defendants.
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        DECLARATION OF JOHN HOLOBINKO IN SUPPORT OF PLAINTIFF
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   1           I, John Holobinko, declare as follows:
   2   I.      Introduction
   3           1.    I am over the age of 18 and am competent to make this Declaration
   4   (“Declaration”). I have personal knowledge, or have developed knowledge, of the
   5   relevant technologies and the matters set forth herein based upon my education,
   6   training, or experience. If called upon to do so, I would testify competently thereto.
   7           2.    I have been retained by counsel for Entropic Communications, LLC
   8   (“Entropic”) in the above-captioned action as an independent consultant to offer
   9   opinions regarding how a person of ordinary skill in the art would understand certain
 10    claim terms in U.S. Patent No. 10,135,682 (the “’682 Patent”), a copy of which is
 11    attached as Exhibit B. For the purposes of this Declaration, I have not been asked to
 12    opine on the meaning of any other terms not addressed herein.
 13            3.    In forming my opinions, I understand that the claims should be
 14    interpreted as they would be understood by a person of ordinary skill in the art
 15    (“POSITA”) at the time of the invention. I understand that the claims are to be
 16    construed with reference to the patent’s specification, the claims, and the prosecution
 17    history, in light of the plain meaning of the terms used in the claims, and with
 18    reference to other sources of information, such as dictionaries, textbooks, and
 19    literature or other patents in the same or related fields.
 20            4.    My opinions are based on my years of education, research, and
 21    experience, as well as my investigation and study of relevant materials, including
 22    those identified in this Declaration.
 23            5.    My analysis of the materials produced in this investigation is ongoing,
 24    and I will continue to review any new material as it is provided. This Declaration
 25    represents only those opinions I have formed to date. I may also consider additional
 26    documents and information to rebut arguments raised by the Defendants. I reserve
 27    any right that I may have to supplement this Declaration if further information
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   1   becomes available or if I am asked to consider additional information. I also reserve
   2   any right that I may have to consider and comment on any expert statements or
   3   testimony of Defendants’ expert(s) in this matter.
   4         6.     If requested, I am prepared to explain at a technology tutorial or claim
   5   construction hearing the technology disclosed in the ’682 Patent, including the state
   6   of the art around the filing date of the patent. This may include background
   7   information on, e.g., broadband communication systems, Hybrid Fiber Coax (HFC)
   8   cable systems, and the systems and equipment used to deliver cable TV/internet to
   9   the home. Any explanations that I may provide with respect to a technology tutorial
 10    or claim construction hearing may also include the use of visual aids or other
 11    demonstrations. I am also prepared to rebut, as necessary, matters raised by the
 12    Defendants or their expert(s), whether in declarations, reports, depositions, or
 13    hearings, and to address related matters raised in the course of claim construction.
 14    II.   Qualifications
 15          7.     A copy of my curriculum vitae (“CV”) is submitted with this report as
 16    Exhibit A.
 17          8.     As set forth in my CV, I have over 30 years’ experience in the cable
 18    television (CATV) industry. During that time, I have held senior roles at some of the
 19    largest vendors of DOCSIS equipment and software within the CATV industry, and
 20    I have authored multiple patents and academic papers relating to cable TV networks
 21    and optical networks. More specifically, I have extensive experience with cable
 22    modem termination systems (CMTS) because I oversaw product engineering and
 23    development of such systems.
 24          9.     I received a Bachelor of Science in Electrical Engineering from
 25    Carnegie Mellon University in 1973.
 26          10.    From    1986     through    1998,    I   was    employed      by   ADC
 27    Telecommunications, Inc., a provider of optical video, data, and voice
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   1   communications equipment and software. I served as director of mergers and
   2   acquisitions and as VP of product management and marketing. I also helped conceive
   3   the company’s flagship digital optics solution, which enabled cable headend network
   4   interconnect rings, and some of the cable industry’s first HFC optical equipment.
   5         11.   From 1998 through 2003, I was president and chief executive of Aplion
   6   Networks, Inc., a venture capital backed start up that developed the first patented
   7   solution for reliable cloud-based enterprise software as a service with prioritized
   8   delivery over service provider and enterprise networks. While there, I helped create
   9   the industry’s first layer 4-7 programmable router/switch “Network Virtuso” and
 10    dynamic provisioning software.
 11          12.   From 2003 through 2005, I was president and chief executive of VPI
 12    Systems, Inc., a data analytics software company whose customers were large
 13    telecoms and major communications network equipment providers. During my
 14    tenure at the company, I increased revenues 80%, won major new customer contracts,
 15    and delivered a new analytics software product.
 16          13.   From 2006 through 2010, I was employed by BigBand Networks (now
 17    Commscope), the only CMTS vendor to support DOCSIS 2.0 TDMA and SCDMA.
 18    I worked as VP and general manager of the cable edge business, VP of product
 19    management, and VP of marketing and member of the executive staff. During my
 20    tenure at the company, I led the “edgeQAM” product portfolio within the company’s
 21    Cable Edge Business. I also led the company’s DOCSIS CMTS business. As part of
 22    my work, I oversaw product engineering and development of CMTS hardware and
 23    software.
 24          14.   From 2010 through 2013, I was employed by Motorola Mobility Home
 25    (now Commscope). I served as VP of strategy and business development for the
 26    company’s Network Infrastructure Solutions group. As part of my work with the
 27    company, I oversaw business strategy and product roadmaps for CMTS hardware
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   1   and software, HFC (hybrid fiber coaxial) equipment, QAM modulation equipment,
   2   video processing equipment, and “Fiber to the Home” equipment. I led the
   3   development of one of the cable industry’s first PNM systems and wrote at least one
   4   technical paper that was in the 2013 SCTE Expo Conference Proceedings, Title:
   5   “New Analytic Methods For Determining Network Performance Issues And
   6   Predicting Service Disruptions in Cable Networks.”
   7          15.   From 2014 through 2019, I was director of business strategy for Cisco
   8   Systems, Inc. There, I headed network business strategy for the company’s access
   9   networks business. As part of my work, I was involved in product design and
 10    specifications for CMTS hardware and software, HFC equipment and passives, RF
 11    (radiofrequency) equipment, OSS systems, and optical networking equipment.
 12           16.   I am currently managing director and owner of Business Reimagined,
 13    LLC, an independent consulting firm that provides market, technology, competitive
 14    analysis, and business strategy assessments across hybrid cloud, routing/switching,
 15    micro-services software, optical networks, wireless and wired networks, and other
 16    related markets.
 17    III.   Compensation
 18           17.   I am being compensated for my services in this matter at my standard
 19    consulting rate of $350 per hour. I am also being reimbursed for expenses that I incur
 20    during the course of this work. My compensation is not contingent upon the results
 21    of my study, the substance of my opinions, or the outcome of any proceeding
 22    involving the challenged claims. I have no financial interest in the outcome of this
 23    matter.
 24    IV.    Materials Considered
 25           18.   In preparing this Declaration, I reviewed and considered the following
 26    materials, as well as any others referenced in the body of this Declaration:
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   1               a. The ’682 Patent and its file history, as well as the patents and file
   2                  histories for the applications identified as Related U.S. Applications on
   3                  the face of the ’682 Patent;
   4               b. The parties’ proposed claim constructions;
   5               c. Portions of Defendants’ invalidity contentions;
   6               d. The extrinsic evidence cited herein; and
   7               e. Materials from the Entropic v. Charter litigation regarding claim
   8                  construction of the ’682 Patent, including prior expert declarations and
   9                  the Court’s claim construction order.
 10          19.      I may use these documents and information, or other information
 11    obtained during the course of this or related proceedings, as well as representative
 12    charts, graphs, schematics and diagrams, animations, and models based on those
 13    documents and information, to support and to explain my testimony. I am informed
 14    that discovery in this action is ongoing, and I reserve the right to modify or
 15    supplement my opinions, this Declaration, and/or to submit additional declarations
 16    to address any information obtained, or positions taken, as discovery continues.
 17          20.      My opinions are based in part on a review and analysis of the above-
 18    mentioned documents and materials. The materials relied upon within this
 19    Declaration are of the type that an expert in my field would have reasonably relied
 20    upon in forming opinions related to the subject matter herein during the relevant
 21    period. I have also drawn on my education, experience, and knowledge of basic
 22    engineering principles for broadband communication systems, Hybrid Fiber Coax
 23    (HFC) cable systems, and the systems and equipment used to deliver cable
 24    TV/internet to the home, that were already in use prior to the earliest priority date for
 25    the claimed subject matter in the ’682 Patent.
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   1   V.    Legal Standards
   2         21.    I am not an attorney or a patent attorney, and I offer no opinions on the
   3   law. I have, however, been informed by counsel regarding various legal standards
   4   that may apply to this case, and I have applied those standards where necessary in
   5   arriving at my conclusions.
   6         22.    I understand that patent claims are construed from the viewpoint of
   7   POSITA at the time of the invention. I understand that this hypothetical POSITA is
   8   considered to have the normal skills and knowledge of a person in the applicable
   9   technical field. The factors that may be considered in determining the level of
 10    ordinary skill include: i) the education level of the inventor; ii) the types of problems
 11    encountered in the art; iii) the prior art solutions to those problems; iv) the rapidity
 12    with which innovations are made; v) the sophistication of the technology; and vi) the
 13    education level of active workers in the field.
 14          23.    I understand that the most important evidence to consider in construing
 15    the claims is the “intrinsic” evidence, which I understand includes the claim
 16    language, the patent specification, and the prosecution history, including inter partes
 17    review (“IPR”) and other post-grant proceedings with the United States Patent and
 18    Trademark Office’s (“USPTO”) Patent Trial and Appeal Board (“PTAB”).
 19          24.    I further understand that a POSITA must read the claim terms in the
 20    context of the claim itself, as well as in the context of the entire patent specification.
 21    I understand that in the specification and/or prosecution history, the patentee may
 22    specifically define a claim term in a way that differs from the plain and ordinary
 23    meaning of the term. I understand that the prosecution history of the patent is a record
 24    of the proceedings before the USPTO and may contain explicit representations or
 25    definitions made during prosecution that affect the scope of the patent claims. I
 26    understand that an applicant may, during the course of prosecuting the patent
 27    application, limit the scope of the claims to overcome prior art or to overcome an
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   1   Examiner’s rejection, by clearly and unambiguously arguing to overcome or
   2   distinguish a prior art reference or by clearly and unambiguously disclaiming claim
   3   coverage.
   4         25.    In interpreting the meaning of the claim language, I understand that a
   5   POSITA may also consider “extrinsic” evidence, which consists of all evidence
   6   external to the patent and prosecution history, including expert and inventor
   7   testimony, positions taken by the patent owner in other litigations, dictionaries, and
   8   learned treatises. I understand that extrinsic evidence may not be relied on if it
   9   contradicts or varies the meaning of the claim language provided by the intrinsic
 10    evidence, particularly if the applicant has explicitly defined a term in the extrinsic
 11    record.
 12          26.    I also understand that patent claim may not be interpreted one way to
 13    avoid invalidity and another way to find infringement. In other words, a claim must
 14    be read the same way for validity as for infringement.
 15          27.    I understand that Section 112 of the Patent Laws requires that a patent
 16    claim particularly point out and distinctly claim the subject matter that the applicant
 17    regards as his or her invention. I understand that a patent claim is invalid for
 18    indefiniteness if it fails to inform, with reasonable certainty, a person of ordinary skill
 19    in the art about the scope and bounds of the invention claimed. I understand a claim
 20    is indefinite if its scope is not clear enough that a POSITA could have determined
 21    with reasonable certainty whether a particular embodiment practices the claim. I also
 22    understand that when considering whether a claim is indefinite, a POSITA may
 23    consider both the intrinsic and extrinsic evidence.
 24          28.    I understand that a claim is not indefinite if, when read in light of the
 25    intrinsic evidence, the claim informs a POSITA with reasonable certainty about the
 26    scope of the invention. I also understand a claim is not indefinite merely because it
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   1   is broad. I understand that the same principles apply to claim terms when individually
   2   challenged as indefinite.
   3   VI.   Level of Skill in the Art
   4         29.    In rendering the opinions set forth in this Declaration, I was asked to
   5   consider the patent claims and the prior art through the eyes of a POSITA. The “art”
   6   is the field of technology to which a patent is related. In my Declaration, I use the
   7   term POSITA to refer to the same hypothetical person of ordinary skill in the art. I
   8   considered factors such as the educational level and years of experience of those
   9   working in the pertinent art, patents and publications of other persons or companies,
  10   the sophistication of the technology, the types of problems encountered in the art, the
  11   prior art solutions to those problems, and the speed at which innovations are made. I
  12   understand that a POSITA is not a specific real individual but rather a hypothetical
  13   individual having the qualities reflected by the factors discussed above.
  14         30.    The ’682 Patent relates to broadband communication systems, Hybrid
  15   Fiber Coax (HFC) cable systems, and the systems and equipment used to deliver
  16   cable TV/internet to the home. These types of technologies were typically designed
  17   by Electrical, Firmware, and Software Engineers that had experience working with
  18   these types of communication systems. I have performed such development myself,
  19   and I have further worked with and directly managed these types of engineers in the
  20   industry. I am therefore very familiar with the common skill sets required for this
  21   type of work.
  22         31.    Taking these factors into consideration and based on my experience in
  23   the industry at the time of the earliest priority date of the ’682 Patent, it is my opinion
  24   that a POSITA at that time would have been an engineer with at least a bachelor’s
  25   degree in electrical engineering (or equivalent), with at least two years of experience
  26   developing broadband/cable TV/satellite communication systems and solutions.
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   1   Additional education may substitute for professional experience, and significant
   2   work experience may substitute for formal education.
   3         32.    I am qualified to provide opinions concerning what a POSITA would
   4   have known and understood at the time of the invention, and my analysis and
   5   conclusions herein are from the perspective of a POSITA as of that date.
   6         33.    As of approximately 2012, I was at least as qualified as the POSITA
   7   identified above. Thus, I understand the perspective of a POSITA as of at least as
   8   early as July 23, 2012, the earliest priority date of the ’682 Patent (i.e., the time of
   9   the invention).
  10   VII. ’682 Patent
  11         A.     Overview of the ’682 Patent
  12         34.    The ’682 Patent is titled “Method And System For Service Group
  13   Management In a Cable Network.” The ’682 Patent was filed on January 9, 2018,
  14   and issued on November 20, 2018. The ’682 Patent claims priority to U.S.
  15   Application No. 15/434,673, filed on February 16, 2017 (now U.S. Patent No.
  16   9,866,438), U.S. Application No. 15/228,703, filed on August 4, 2016 (now U.S.
  17   Patent No. 9,577,886), U.S. Application No. 13/948,444, filed on July 23, 2013 (now
  18   U.S. Patent No. 9,419,858), and U.S. Provisional Application No. 61/674,742, filed
  19   on July 23, 2012. For my analysis herein, I have assumed the date of July 23, 2012
  20   as the earliest priority date for the ’682 Patent and the time of the invention.
  21         35.    The ’682 Patent is directed to a method and system for a “cable modem
  22   termination system (CMTS) [to] determine, for a plurality of cable modems served
  23   by the CMTS, a corresponding plurality of SNR[1]-related metrics.” ’682 Patent
  24   Abstract. Specifically, for example, the CMTS can “determine one or more measured
  25   performance metric(s) (e.g., an SNR-related metric such as SNR at a particular
  26   frequency or SNR over a range of frequencies (an SNR profile), noise levels, strength
  27   1
        “SNR” refers to signal-to-noise ratio. See ’682 Patent, 2:15. This acronym was well-
  28   known and commonly used in the art in 2012.
                                                  9
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   1   of desired signals, and/or the like) for any particular CM 112x.” Id. at 3:55-59. The
   2   specification describes how the CMTS may assign cable modems to service groups
   3   based on a cable modem’s SNR-related metrics. See id. at 5:37–39; 8:7–9.
   4         36.   The ’682 Patent further discloses generation of a composite SNR-related
   5   metric. See id. at claim 1. This composite SNR-related metric allows the CMTS to
   6   select physical layer communication parameters that are most appropriate for the
   7   cable modems within a given service group, which in turn may lead to optimized
   8   performance for the cable modems. Id. at 5:7–20. For example, cable modems within
   9   the same service group may share similar SNR-related metrics, and thus would
  10   benefit from similar physical layer parameters, which makes generation of a
  11   composite   SNR-related     metric   for    the   similarly-situated    cable   modems
  12   advantageous. Id. at 4:14–17; 5:7–20; 5:40–57.
  13         B.    Disputed Terms of the ’682 Patent
  14         37.   I understand there is a dispute over two claim terms of the ’682 Patent:
  15
  16         Disputed Term            Entropic’s Proposed          Defendants’ Proposed
                                         Construction                  Construction
  17
        “cable modem                Plain and ordinary            equipment at which the
  18    termination system”         meaning, wherein the          cable modem’s
                                    CMTS may be realized in       connection to the hybrid-
  19                                hardware, software, or a      fiber coaxial network
                                    combination of hardware       terminates
  20                                and software, and may be
                                    realized in a centralized
  21                                or distributed fashion
  22    “SNR-related metric”        Plain and ordinary            Indefinite
                                    meaning
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  24         38.   Below, I have reproduced Claim 1 of the ’682 Patent and have
  25   emphasized the terms that are in dispute.
  26         1. A method comprising:
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   1               determining, by a cable modem termination system (CMTS), for each
   2               cable modem served by said CMTS, a corresponding signal-to-noise
   3               ratio (SNR) related metric;
   4               assigning, by said CMTS, each cable modem among a plurality of
   5               service groups based on a respective corresponding SNR-related metric;
   6               generating, by said CMTS for each one of said plurality of service
   7               groups, a composite SNR-related metric based at least in part on a worst-
   8               case SNR profile of said SNR-related metrics corresponding to said one
   9               of said plurality of service groups;
  10               selecting, by said CMTS, one or more physical layer communication
  11               parameter to be used for communicating with said one of said plurality
  12               of service groups based on said composite SNR-related metric; and
  13               communicating, by said CMTS, with one or more cable modems
  14               corresponding to said one of said plurality of service groups using said
  15               selected one or more physical layer communication parameter.
  16   ’682 Patent, Claim 1.
  17               i.     “cable modem termination system (CMTS)”
  18         39.   I understand Defendants contend that the term “cable modem
  19   termination system (CMTS)” should be construed as “equipment at which the cable
  20   modem’s connection to the hybrid-fiber coaxial network terminates.”
  21         40.   I disagree. In my opinion, Defendants’ proposed construction is contrary
  22   to the plain and ordinary meaning of “CMTS” and is inconsistent with how a POSITA
  23   would understand the term in view of the ’682 Patent in 2012. I agree with Entropic
  24   that the term should be construed according to its plain and ordinary meaning,
  25   wherein the CMTS may be realized in hardware, software, or a combination of
  26   hardware and software, and may be realized in a centralized or distributed fashion.
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   1         41.    Defendants’ proposed construction is flawed for two reasons. First, it
   2   improperly limits the CMTS to “equipment” (i.e., hardware), when a POSITA would
   3   understand that CMTSs necessarily consisted of both hardware and software. Indeed,
   4   the hardware would not run without software running on it. Second, Defendants’
   5   construction incorrectly requires the entire CMTS to be at a particular physical
   6   location (i.e., “equipment at which the cable modem’s connection to the hybrid-fiber
   7   coaxial network terminates”), when a POSITA would understand that certain CMTS
   8   functions were commonly performed or managed by offsite systems and software
   9   (e.g., from a centralized management system operated by the cable operator, or in a
  10   distributed manner).
  11         42.    This understanding is consistent with how the ’682 Patent uses the term
  12   “CMTS.” For instance, the patent notes that “[t]he CMTS may comprise circuitry
  13   operable to manage connections to the CMs.” See ’682 Patent 2:61–62; see also 3:42–
  14   45 (describing how cable modems “may comprise circuitry operable to communicate
  15   with, and be managed by, the CMTS 1102 in accordance with one or more standards
  16   (e.g. DOCSIS)”). As used in the patent specification, “‘circuitry’ refer[s] to physical
  17   electronic components (i.e. hardware) and any software and/or firmware (‘code’)
  18   which may configure the hardware, be executed by the hardware, and or otherwise
  19   be associated with the hardware.” See id. at 2:32–36 (emphasis added). As such, the
  20   ’682 Patent uses the term “CMTS” to include both hardware and software
  21   components. This is consistent with the plain meaning of “CMTS” as would be
  22   understood by a POSITA at the time of the invention.
  23         43.    Moreover, the ’682 Patent states that “[t]he present invention,” which
  24   as recited in the claims includes certain functionalities of the CMTS, “may be realized
  25   in a centralized fashion in at least one computer system, or in a distributed fashion
  26   where different elements are spread across several interconnected computing
  27   systems.” Id. at 7:33–36. This is consistent with how CMTSs were used and
  28
                                 12
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   1   understood at that time. It was common for certain CMTS functions to be performed
   2   or controlled by offsite systems and software. For example, subscriber authorization
   3   functions and the management of service level(s) for each subscriber were generally
   4   understood to be functions of a CMTS, but were often managed from a centralized
   5   management system operated by the cable operator; the hardware supporting this
   6   management system was not physically located at the point where connections
   7   between cable modems and the HFC network terminated. In fact, in 2012 this was
   8   common practice in my own work on CMTSs with Motorola Mobility Home, where
   9   I oversaw product roadmaps for CMTS hardware and software. In particular, I helped
  10   develop a proactive network management (PNM) system which involved certain
  11   CMTS functions being performed using a centralized management system in the
  12   manner I have described above.
  13         44.    Consistent with the intrinsic record, a POSITA would understand that
  14   the plain and ordinary meaning of “CMTS” includes hardware and software that is
  15   not necessarily physically located at the same place as the “equipment at which the
  16   cable modem’s connection to the hybrid-fiber coaxial network terminates.” In this
  17   regard, a POSTIA would recognize that the CMTS may be realized in hardware,
  18   software, or a combination of hardware and software, and may be realized in a
  19   centralized or distributed fashion.
  20         45.    Finally, I note that the technical context of the invention would confirm
  21   to a POSITA that this plain-meaning understanding of “CMTS” is correct for the
  22   claims of the ’682 Patent. A POSITA would understand that the invention of the ’682
  23   Patent is directed to new capabilities for a CMTS to manage its communications with
  24   cable modems, rather than the physical location of the components providing those
  25   capabilities (or the division or distribution of such functionalities). Further, a
  26   POSITA would understand that there is no technical reason that the elements
  27   providing the inventive CMTS functionality must be co-located. The POSITA would
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   1   therefore find no reason to understand or interpret “CMTS” as anything narrower
   2   than the Patent’s descriptions quoted above that are consistent with the plain
   3   meaning.
   4                ii.    “SNR-related metric”
   5         46.    I understand Defendants contend this term is indefinite. I disagree. A
   6   POSITA would understand this term with reasonable certainty in light of the intrinsic
   7   record.
   8         47.    In an attempt to understand why Defendants would assert this phrase is
   9   indefinite, I reviewed portions of Defendants’ invalidity contentions. With respect to
  10   the alleged indefiniteness of this term, Defendants there state only that “[a] person of
  11   ordinary skill in the art would not understand with reasonable certainty what ‘[] SNR-
  12   related metric’ means within the context of the claim language and the intrinsic
  13   record.” Exhibit C (Defendants’ Preliminary Invalidity Contentions), 168. This is no
  14   explanation at all. If Defendants or any of their experts explain precisely why they
  15   allege indefiniteness, I may have specific responses to those positions.
  16         48.    A POSITA would have reasonably understood the boundaries of the
  17   term “SNR-related metric” as generally referring to any metric representing and/or
  18   measuring signal quality. Various patent and non-patent literature from the time
  19   period confirm that this was the case. For example, U.S. Patent Publication No.
  20   2009/0003468 by Karabulut et al. states that “SNR is often not measured directly and
  21   other related metrics can be measured instead, such as received signal power” and
  22   that “an SNR related metric can be equivalently used.” Exhibit D, U.S. Pat. Publ’n
  23   No. 2009/0003468, at ¶ 0027; see also generally Exhibit E, U.S. Pat. No. 7,457,588,
  24   at 5:28–31 (referencing “reporting SNR or another SNR-related metric”); Exhibit F,
  25   Lin et al. RANDOM ACCESS HETEROGENEOUS MIMO NETWORKS (2011), at 152
  26   (“[effective SNR] is a novel SNR-related metric”). A POSITA would have
  27   understood that these metrics all represent or measure signal quality.
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   1            49.   The ’682 Patent uses the term “SNR-related metric” in a manner
   2   consistent with how a POSITA would understand the term. In particular, the patent
   3   states that a CMTS can “determine one or more measured performance metric(s)
   4   (e.g., an SNR-related metric such as SNR at a particular frequency or SNR over a
   5   range of frequencies (an SNR profile), noise levels, strength of desired signals, and/or
   6   the like) for any particular CM 112x.” Id. at 3:55–59. Consistent with what a POSITA
   7   would understand, an “SNR-related metric” could be signal-to-noise ratio, noise
   8   level, strength of desired signal, bit error rate, symbol error rate, or the like. See id.;
   9   see also U.S. Pat. No. 9,178,765[2] at 3:40–44. Each of these were understood to be
  10   measurements relating to signal quality. Comcast’s experts in related inter partes
  11   review proceedings have provided relevant testimony. In one challenge of a related
  12   patent-in-suit with a priority date of September 8, 2011, one of Comcast’s experts
  13   recognized that modulation error ratio (“MER”) and bit error ratio (“BER”) are other
  14   metrics that “were used to measure signal quality” and were known to a POSITA.
  15   See Exhibit G, IPR2024-00441, Ex. 1002, Declaration of David B. Lett ¶¶ 48, 54. A
  16   second expert for Comcast who testified in its inter partes review challenge of the
  17   ’682 Patent also recognized that modulation error ratio (“MER”), bit error rate
  18   (“BER”), and symbol error rate (SER) are metrics related to SNR that were known
  19   to be used for measuring signal power. Exhibit H, IPR2024-00445 Ex. 1102,
  20   Declaration of Sayfe Kiaei ¶ 91 (“SNR is related to MER, as if the channel noise
  21   increases, the bit-error rate (BER), symbol error rare [sic] (SER), and MER will
  22   increase”). I agree with Comcast’s experts that measurements of MER, BER, and
  23   SER would be within a POSITA’s understanding of the scope of the term “SNR-
  24   related metric.”
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  27       The ’682 Patent incorporates by reference U.S. Patent Application 13/948,401 (’682
           Patent at 1:38-40), which ultimately issued as U.S. Patent No. 9,178,765 on Nov.
  28       3, 2015.
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   1         50.    Based on the foregoing, a POSITA would understand with reasonable
   2   certainty the scope of the term “SNR-related metric.” Therefore, I disagree with
   3   Defendants that this term is indefinite.
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